              Case 2:07-cr-00120-WBS Document 89 Filed 05/01/09 Page 1 of 2


 1   L. BRUCE LOCKE (#177787)
     Moss & Locke
 2   555 University Avenue, Suite 150
     Sacramento, CA 95825
 3   (916) 569-0667
     (916) 569-0665 fax
 4   Attorneys for
     JOSH LANE
 5
 6                            IN THE UNITED STATES DISTRICT COURT
 7                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 8   UNITED STATES OF AMERICA,           )                No. CR. S-07-120 EJG
                                         )
 9                      Plaintiff,       )
                                         )                STIPULATION TO CONTINUE STATUS
10                                       )                CONFERENCE AND EXCLUDE TIME
           v.                            )                UNDER SPEEDY TRIAL ACT
11                                       )                (*As amended)
     JOSH LANE, et al.,                  )                Date: May 1, 2009
12                                       )                Time: 10:00 A.M.
                        Defendants.      )
13   ____________________________________)
14          IT IS HEREBY STIPULATED AND AGREED between the defendant, Josh Lane, by and
15   through his defense counsel, Bruce Locke, and the United States of America by and through its
16   counsel, Assistant U.S. Attorney Heiko Coppola, that the status conference presently set for May 1,
17   2009 at 10:00 a.m., should be continued to July 10*, 2009 at 10:00 a.m., and that time under the
18   Speedy Trial Act should be excluded from May 1, 2009 through July 10*, 2009.
19          The reason for the continuance is that the co-defendants who have not yet been arraigned are
20   all located in Canada and the Government is still attempting to procure their presence in this case.
21   Additionally, the Government will soon be providing the defense with additional discovery and
22   defense counsel will need additional time to review that discovery. Finally, Mr. Lane is entering a
23   90 day drug abuse treatment program pursuant to the recommendation of Pretrial Services.
24   Accordingly, the time between December 19, 2008 and February 27, 2009 should be excluded from
25   the Speedy Trial calculation pursuant to Title 18 United States Code, Section 3161(h)(8)(B)(ii) and
26   (iv) and Local Code T-4 for defense preparation. Mr. Coppola has authorized Mr. Locke to sign this
27   pleading for him.
28
29                                                    1
             Case 2:07-cr-00120-WBS Document 89 Filed 05/01/09 Page 2 of 2


 1
 2   DATED: April 28, 2009                    /S/
                                        BRUCE LOCKE
 3                                      Attorney for Josh Lane
 4
 5
     DATED: April 28, 2009                 /S/ Bruce Locke
 6                                      For HEIKO COPPOLA
                                        Attorney for the United States
 7
 8
           IT IS SO ORDERED.
 9
10
11   DATED: April 30, 2009              /s/ Edward J. Garcia
                                        UNITED STATES DISTRICT JUDGE
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
29                                         2
